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                                  1   LOEB & LOEB LLP
                                      MARC S. COHEN (SBN 65486)
                                  2   mscohen@loeb.com
                                      DONALD A. MILLER (SBN 228753)
                                  3   dmiller@loeb.com
                                      STEVEN S. ROSENTHAL (SBN 109739)
                                  4   srosenthal@loeb.com
                                      ALICIA M. CLOUGH (SBN 260012)
                                  5   aclough@loeb.com
                                      MARIAH V. S. VOLK (SBN 323068)
                                  6   mvolk@loeb.com
                                      10100 Santa Monica Blvd., Suite 2200
                                  7   Los Angeles, CA 90067
                                      Telephone:    310.282.2000
                                  8   Facsimile:    310.282.2200

                                  9   Xavier BECERRA
                                      Attorney General of California
                            10        LISA W. CHAO
                                      Supervising Deputy Attorney General
                            11        JOHN C. KEITH
                                      Deputy Attorney General
                            12        State Bar No. 229755
                                        300 South Spring Street, Suite 1702
                            13          Los Angeles, CA 90013
                                        Telephone: (213) 269-6251
                            14          Fax: (916) 731-2144
                                      E-mail: John.Keith@doj.ca.gov
                            15
                                      Attorneys for the California State Lands Commission
                            16
                            17                                   UNITED STATES BANKRUPTCY COURT

                            18                                    CENTRAL DISTRICT OF CALIFORNIA

                            19                                             NORTHERN DIVISION

                            20        In re:                           )   Case No.: 9:19-BK-11573-MB
                                                                       )   Chapter 11
                            21        HVI CAT CANYON, INC.,            )
                                                                       )   DECLARATION OF ALICIA CLOUGH IN SUPPORT
                            22                       Debtor.           )   OF RESPONSE TO REPLY OF THE OFFICIAL
                                                                       )   COMMITTEE OF UNSECURED CREDITORS TO:
                            23                                         )
                                                                       )   (1) CALIFORNIA STATE LAND COMMISSION’S
                            24                                         )   LIMITED OBJECTION TO APPLICATION FOR
                                                                       )   ORDER AUTHORIZING AND APPROVING THE
                            25                                         )   EMPLOYMENT OF PACHULSKI STANG ZIEHL &
                                                                       )   JONES LLP AS COUNSEL FOR THE OFFICIAL
                            26                                         )   COMMITTEE OF UNSECURED CREDITORS,
                                                                       )   EFFECTIVE AS OF AUGUST 16, 2019 [Docket No.
                            27                                         )   346]; and
                                                                       )
                            28                                         )


      Loeb & Loeb                     18294689.1
A Limited Liability Partnership
    Including Professional            232604-10002
         Corporations
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                                  1                          )   (2) CALIFORNIA STATE LAND COMMISSION’S
                                                             )   LIMITED OBJECTION TO APPLICATION OF THE
                                  2                          )   OFFICIAL COMMITTEE OF UNSECURED
                                                             )   CREDITORS FOR AUTHORIZATION TO RETAIN
                                  3                          )   AND EMPLOY CONWAY MACKENZIE, INC. AS
                                                             )   FINANCIAL ADVISOR, EFFECTIVE AS OF
                                  4                          )   AUGUST 16, 2019 [Docket No. 347]
                                                             )
                                  5                          )   Hearing Date: October 28, 2019
                                                             )   Hearing Time: 10:00 a.m.
                                  6                          )   Place: Courtroom 201
                                                             )          1415 State Street, Courtroom 202
                                  7                          )          Santa Barbara, CA 93101
                                                             )   Judge: The Honorable Martin R. Barash
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                                  1                                DECLARATION OF ALICIA CLOUGH

                                  2            I, Alicia Clough, declare as follows:

                                  3            1.     I am an attorney licensed to practice law in the State of California, and Senior

                                  4   Counsel at the law firm of Loeb & Loeb, counsel for the California State Lands Commission

                                  5   (hereinafter, the “Commission”) in the above-referenced matter. I have personal knowledge of the

                                  6   facts set forth herein and, if called as a witness, could and would testify competently thereto.

                                  7   Capitalized terms not defined herein shall have the same meaning as ascribed to them in the

                                  8   motion filed concurrently with this declaration.

                                  9            2.     Attached as Exhibit A is a true and correct copy of the August 29, 2019 Expert

                            10        Report of Monty Kehl filed in this case on August 30, 2019.

                            11                 3.     Attached as Exhibit B is a true and correct copy of the Statement of Position of

                            12        Official Committee of Unsecured Creditors in Support of Motion to Transfer Venue) filed on

                            13        August 23, 2019 [Docket No. 74 at 1-2].

                            14                 4.     Attached as Exhibit C is a true and correct copy of excerpts from the hearing held

                            15        on August 27, 2019, in this case in the Southern District of New York Bankruptcy Court.

                            16                 5.     Attached as Exhibit D is a true and correct copy of excerpts from the hearing held

                            17        in this case on September 23, 2019.

                            18
                            19                 I declare under penalty of perjury under the laws of the United States of America that the

                            20        foregoing is true and correct.

                            21                 Executed this 21st day of October 2019, at Los Angeles, California.

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                            23                                                                      Alicia Clough
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